        Case 2:18-cv-02109-GMN-VCF Document 4 Filed 02/08/19 Page 1 of 2



 1   Michael Kind, Esq.
     Nevada Bar No. 13903
 2
     KAZEROUNI LAW GROUP, APC
 3   6069 S. Fort Apache Rd., Suite 100
     Las Vegas, NV 89148
 4
     Phone: (800) 400-6808 x7
 5   mkind@kazlg.com
 6
     David H. Krieger, Esq.
 7   Nevada Bar No. 9086
     HAINES & KRIEGER, LLC
 8
     8985 S. Eastern Avenue, Suite 350
 9   Henderson, NV 89123
     Phone: (702) 880-5554
10
     dkrieger@hainesandkrieger.com
11   Attorneys for Plaintiff Sam Gabrielle
12
                            UNITED STATES DISTRICT COURT
13
                                 DISTRICT OF NEVADA
14
15
        Sam Gabrielle,                                   Case No. 2:18-cv-02109-GMN-VCF
16
17                     Plaintiff,                        Notice of Voluntary Dismissal
        v.
18
19      Loft Associates, LLC, dba
        Cheddar Express,
20
21                      Defendant.

22
23
24
25
                                                  NOTICE
26
             Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
27
     Plaintiff Sam Gabrielle voluntarily dismisses without prejudice the claims against
28

     ________________________________________________________________________________________________________
      VOL. DISMISSAL                                                          CASE NO. 2:18-CV-02109-GMN-VCF
        Case 2:18-cv-02109-GMN-VCF Document 4 Filed 02/08/19 Page 2 of 2



 1   Defendant Loft Associates, LLC, dba Cheddar Express in this matter. Each party
 2   will bear its own costs, disbursements, and attorney fees.
 3          DATED this 8th day of February 2019.
 4
                                                           KAZEROUNI LAW GROUP, APC
 5
 6                                                         By: /s/ Michael Kind
                                                           Michael Kind, Esq.
 7
                                                           6069 S. Fort Apache Rd., Ste. 100
 8                                                         Las Vegas, NV 89148
                                                           Attorneys for Plaintiff
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ________________________________________________________________________________________________________
      VOL. DISMISSAL                                                          CASE NO. 2:18-CV-02109-GMN-VCF
